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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   8/25/2023
---------------------------------------------------------------X
RINAT HAFIZOV,                                                 :
                                                               :    22-CV-8853 (JPC) (RWL)
                                             Plaintiff,        :
                                                               :
                  - against -                                  :    ORDER
                                                               :
BDO USA, LLP, et al,                                           :
                                                               :
                                             Defendants. :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This order resolves the discovery dispute raised by Plaintiff at Dkt. 102, responded

to by Defendants at Dkt. 103, and previously addressed by the Court at the conference

held on July 19, 2023. The Court has reviewed the transcript of that conference (Dkt. 92),

the pleadings, the discovery requests, and other relevant items from the docket. The

Court finds that the hearing transcript is ambiguous with respect to the three categories

about which the Court ruled on page 49 (compare Plaintiff counsel’s descriptions at pages

41 and 44). Having considered the matter further, and taking into account concerns

relevant to proportionality, the Court rules as follows.           To the extent this order is

inconsistent with the Court's previous statements during the July 19, 2023 conference,

this order controls.

        1. Defendants shall produce the following:

                 a. Communications sent by Ms. Bernier, Mr. Dyment, or Mr. Montorio to

        other BDO employees that refer to one or more discriminatory protected

        characteristics related to nationality, ethnicity, race, or religion.

                 b.     Documents comprising or referencing complaints made by BDO

        employees to Human Resources about discriminatory conduct of, or hostile work

                                                        1
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       environment contributed to by, Ms. Bernier, Mr. Dyment, or Mr. Montorio with

       respect to nationality, ethnicity, race, or religion.

       2. Notwithstanding the Court's comment at the conference about scope that “is

fine” on page 49 of the transcript, the Court continues to find the terms “professionalism”

and “misconduct” as used in Plaintiff’s discovery requests to be impermissibly vague and

unenforceable.

       3. This order does not address the scope of documents regarding retaliatory

conduct as Plaintiff’s letter at Dkt. 102 limits the dispute to two categories other than that.




                                            SO ORDERED.



                                            _________________________________
                                            ROBERT W. LEHRBURGER
                                            UNITED STATES MAGISTRATE JUDGE

Dated: August 25, 2023
       New York, New York

Copies transmitted this date to all counsel of record.




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